Matthew S. Block, ABA No. 0511094
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Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF ALASKA AT ANCHORAGE

Floyd Lindbloom,

                                 Plaintiff,

v.
                                              Case No. _____________
SPECIALIZED LOAN SERVICING, LLC
and RECONTRUST COMPANY, N.A.,
                                                       NOTICE OF REMOVAL
                              Defendants.

TO:            The United States District Court
               For The District of Alaska

AND TO:        Law Offices of Alaska Legal Services Corporation
               Anchorage and Statewide Office
               1016 West Sixth Avenue, Suite 200
               Anchorage, AK 99501
       Defendants notify you that pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §§ 1441 and
1446, Defendants hereby remove the above-captioned action from the Superior Court for the

State of Alaska, Third Judicial District at Anchorage on the ground of jurisdiction based on

federal question. Defendants submit the following statement in accordance with 28 U.S.C.

§ 1446:

       1.      On March 12, 2012, plaintiff Floyd Lindbloom (“Plaintiff”) served Defendants

with a Summons and Complaint for the above-captioned action filed in the Superior Court for

the State of Alaska, Third Judicial District at Anchorage, designated as Case No. 3AN-12-

5854 CI. See Declaration of Matthew Block (“Block Decl.”) ¶ 2 and Exhibits A and B thereto.




          Case 3:12-cv-00079-JWS Document 1 Filed 04/11/12 Page 1 of 4
Plaintiff’s Complaint is premised upon alleged events and/or omissions that occurred within

the State of Alaska. See Ex. B ¶ 3.

        2.      This Court is the United States District Court for the district and division within

which Plaintiff’s action in the Superior Court for the State of Alaska, Third Judicial District in

Anchorage, is pending. See 28 U.S.C. § 1441(a). Venue is therefore proper in this district

pursuant to 28 U.S.C. § 1391(a) and (c).

        3.      As required by 28 U.S.C. § 1446(b), this Notice of Removal is timely filed

within thirty (30) days from the date on which the action was served on Defendants.

Decl. ¶ 4.

        4.      Federal question jurisdiction is available in actions involving only state-law

claims where those claims necessarily involve the resolution of underlying questions of federal

law. See, e.g., Grable & Sons Metal Products, Inc. v. Darue Engineering and Mfg., 545 U.S.

308, 312 (2005); California ex rel. Lockyer v. Dynergy, Inc., 375 F.3d 831, 841 (9th Cir. 2004).

While some of Plaintiffs’ claims are, on their face, state law claims, the central and

overarching premise of them all is that Defendants violated the terms of a federal program and

provisions of an agreement between Defendants and the federal government. In essence,

Plaintiff seeks to enforce the terms of HAMP against Defendants, which will require the Court

to determine, inter alia, whether a private right of action exists under HAMP and, if so,

whether Defendants have violated the terms of that program or provisions of their contract

with the federal government.

        5.      Plaintiff alleges as the basis of claims in his Complaint that Defendants violated

the terms of the Federal HAMP, which is a program under the US Treasury Department

authorized by federal law. See Ex. B ¶¶ 16 – 30. Because Plaintiff’s claims are premised upon

an alleged violation of federal law or regulations, this Court would have had jurisdiction over




Notice of Removal
Floyd Lindbloom v.Specialized Loan Servicing, LLC, et. al. (Case No. _______________)   Page 2 of 4

         Case 3:12-cv-00079-JWS Document 1 Filed 04/11/12 Page 2 of 4
this case under 28 U.S.C. § 1331, had it been originally filed in this Court. The case is

therefore removable to this Court pursuant to 28 U.S.C. § 1441(b).

        6.      Furthermore, federal law controls “a contract entered into pursuant to federal

law and to which the government is a party.” County of Santa Clara v. AstraUSA, 588 F.3d

1237, 1243 (9th Cir. 2009). Here, the terms of HAMP apply to Defendants, if at all, only if

and to the degree Defendants entered into a Servicer Participation Agreement (“SPA”) with the

federal government. Thus, in order to reach any of Plaintiff’s claims in this matter the Court

must first determine, inter alia, whether a valid and enforceable SPA exists, whether Plaintiff

is an appropriate party to bring an action purporting to enforce an SPA, and whether the

provisions of any such SPA have been violated. Because Plaintiff’s claims are premised on

duties allegedly arising under a contract between Defendants and the federal government, this

Court would have had jurisdiction over this case under 28 U.S.C. § 1331 had it originally been

filed in this Court.

        7.      As required by 28 U.S.C. § 1446, a true and correct copy of all state court

process, pleadings, or orders served on the removing parties to date are attached to the Block

Declaration as Exhibit A. In addition, a copy of the Complaint as it appears in the file of the

Superior Court is attached to the Block Declaration as Exhibit B.

        8.      By seeking removal, SLS does not waive, and expressly reserves, all rights,

defenses, or objections of any nature that it may have to Plaintiff’s claims, including but not

limited to the right to compel arbitration of some or all of Plaintiff’s claims.

        11.     A copy of this Notice of Removal is being concurrently filed with the Clerk of

the Superior Court of Alaska, Third Judicial District at Anchorage, and concurrently served

upon the Plaintiff’s counsel pursuant to 28 U.S.C. § 1446(d).




Notice of Removal
Floyd Lindbloom v.Specialized Loan Servicing, LLC, et. al. (Case No. _______________)   Page 3 of 4

         Case 3:12-cv-00079-JWS Document 1 Filed 04/11/12 Page 3 of 4
          DATED this 11th day of April, 2012.
                                                   LANE POWELL LLC
                                                   Attorneys for Defendants

                                                   By /s/ Matthew S. Block
                                                   Matthew S. Block, ABA No. 0511094
                                                   Lane Powell LLC
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                                                   Tel:   907-277-3309
                                                   Fax: 907-276-2631
                                                   Email: blockm@lanepowell.com


I certify that on April 11, 2012, a copy
of the foregoing was served by U.S. Mail on:

Law Offices of Alaska Legal Services Corporation
Anchorage and Statewide Office
1016 West Sixth Avenue, Suite 200
Anchorage, AK 99501

  /s/ Matthew S. Block
126285.0002/5352795.1




Notice of Removal
Floyd Lindbloom v.Specialized Loan Servicing, LLC, et. al. (Case No. _______________)   Page 4 of 4

           Case 3:12-cv-00079-JWS Document 1 Filed 04/11/12 Page 4 of 4
